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                    UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF CALIFORNIA




UNITED STATES OF AMERICA,          )
                                   )         1:05-cr-0148 OWW
                    Plaintiff,     )
     vs.                           )
                                   )         ORDER FOR RETURN OF
JOSE ELIAS MARQUEZ LEANOS,         )         NOTE AND DEED OF TRUST
                                   )         AND PASSPORT
                    Defendants.    )
___________________________________)


     The above-named defendant having been dismissed from the

case upon motion of the United States Attorney;

     IT IS HEREBY ORDERED that the Note and Deed of Trust

posted in this matter be returned to the surety, and the Passport

be returned to the defendant.



Dated: __April 7, 2006_                _/s/ OLIVER W. WANGER_________
                                       OLIVER W. WANGER
                                       United States District Judge
